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IN THE UNITED STATES BANKRUPTCY COURT
F()R THE DISTRICT OF DELAWARE

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In re Chapter 11

CD LIQUIDATION CO., LLC, f/k/a Case No. 09~13038 (KG)
CYNERGY DA'I`A, LLC, et ai,,
Jointly Administered
Debtors.

 

Re: Docket No. 1554

 

MARCELO PALADINI’S MOTION FOR LEAVE TO FILE A SUR-REPLY IN
FURTHER SUPPORT OF HIS OB.}ECTION TO MOTION BY MONERIS
SOLUTIONS AND BMO HARRIS BANK NA TO ENFORCE SETTLEMENT
AGREEMENT AN]) FOR RELATED RELIEF

Marcelo Paladini (“Paladini”) respectfully moves this Court (the “Motion”) for
entry of an order, pursuant to Local Bankruptcy lRules lQOl_jl(c) and 9006-1(d), granting
Paladini leave to file a sur-reply (the “Sur~Reply”) to the Reply in Fw'ther Support of
Motz`on ofMoneris Solutz'ons, Inc. and BMO Hm‘ris BankN.A. for an Order (]) Enforcz'ng
(A) the Order Approving that Cerfa:'n Seftlément Regarding Reconcz'!iation ofAmozmts
Relafed fo the Roll!'ng Reserve Fund, (B) the Order Confl`rming the Joim‘ Plcm of
Liquidafion of CD Ll`quidm‘ion Co., LLC, CD Liquidarion Co. Plus, LLC, and Cynergy
Dam Ho!dz'ngs, Inc. and (C) Complicmce with the Joim‘ Plcm of Liquidafion of Debtors
and (2) Enjoz'ning Ma)‘celo Palad:`ni [Docket No. 1554] (the “Reply”) or to strike the
Reply. In support of this Motion, Palaclini states as follows:

1. On August 3 l, 2012, Moneris Solutions, Inc. and BMO I~Iarris Bank N.A.
(hereinatter “Moneris”) filed Mofion of Mon_eris Soluf!-'lens,i:]nc. and BMO Harris chk
N.A. for O)'der (]) Enforcing (A) the Order Approw'ng thnt Cez'l'tdin Settiement Ilegar'ding
Reconcz'liatz'on of Amozmts Relafea' to the Rolling Reserve Fund, (B) the Orc!er

Confirming the Joz'nt Plan of Liquidation cf CD Liquidarion Co., LLC, CD Liqw'dafion

 

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Co. Plus, LLC, and Cy)rergy Dam Holdings, lrzc, and (C) Compliance with the Joim‘ Plan
7 of Liquidatfon of Debtors and (2) Enjoz'm'ngiMarcelo Paladz'ni [Docket No. 1549]
(“Moneris Motion”).

2. On October 10, 2012, Paladini filed his Objecfion by Mar'celo Pclladini to
Mo!ion by Monerz's Solw‘ions and BMO Harrz`s Bank NA to Enforce Setflemeni Agreement
andforRelatedRelief[Docket No. 1551]. ' l ` ‘ l ~

3. On October 24, 20l2, Moneris filed its \Reply.`-Responding to Paladini’s
argument that his claims Were not enjoined, but expressly preserved, Moneris advanced
two previously un-raised arguments that Paladini respectiiilly submits Warrant a sur-
reply.

4. Movant may not raise new arguments in a reply. See, e.g., Laborers’ fm ’I
Um'On OfN. Am., AFL-CIO v. Fos!er Wheeler Ertergy Corp., 26 F.3d 375, 393 (3d Cir.
1994) (t'mding that “[an] issue is Waived unless a party raises it in its opening briet”)
(internai citations omitted); Eurofins Phc:ri)za US Holdz'ngs v. BioAIIiance Pharma SA,
623 F.3d 147, 161 n.15 (3d Cir. 2010) (noting` that plaintiff Waived argument that Was
raised for the first time in its reply hriet). 7 l

5. Where a movant improperly raises a new argument in its reply, courts
permit non~movants to file sur-replies. See, e.g., Worldcom, Inc. v. Gr'aphnet, Inc., 343
F.3d 651, 652 (3d Cir. 2003) (noting that district court “properly” allowed plaintiff to tile
a sur-reply to respond to arguments raised for the first time in defendant’s reply briet);
T)'I'state HVAC Equip., LLC'v. Big Belly Solar, Inc., No. 10-1054, 2010 WL 4139285, at
*8 n.8 (E.D. Pa. Oct. 20, 2010) (noting that a party could have filed sur~reply brief to

respond to arguments raised for the first time in opponent’s reply briei) (citations

 

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omitted); U.S. Home Corp. v. Powers, No. 09~2807, 2010 WL 1328380, at *l n.l (D.
Md. Mar. 25, 2010) (permitting party to file sur-reply to respond to matters raised for the
first time in reply).

6. Aiternatively, courts Will disregard replies that contain positions raised for
the first time. See, e.g., Teleconj?zrence Sys. v. Procfor & Gamble Pharm., 676 F. Supp.
2d 321, 322 1113 (D. Del. 2009) (“lssues raised for the first time in a reply brief should
not be heard.”) (citing Laborers’ I_nt’l Union ofN. Am., AFL-CIO, 26 F.3d 375, 398);
Mifchell v. C&S Wholescrle Gr‘ocers, Inc., No. 10-2354, 2010 WL 273655, at *6 (D.N.J.
July 8, 2010) (“Because Defendants raise this issue for the first time in its reply, the
Court will not consider this argument.“)

7. Paladini respectfully submits that the accompanying Sur-Reply Wili assist
the Court in its resolution of the Motion by addressing issues that have not been
addressed before. Alternatively, Moneris’s Reply should be stricken because it raises

new issues.

 

 

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C()NCLUSION

For the foregoing reasons, Paladini respectfully requests the Court to enter an

Order, substantially in the form attached hereto as E)ihibit A; allowing Paladini to file the

Sur-Repiy, in the form attached hereto as Exhibit B, or striking Moneris’s Reply, and

granting such other and further relief as the Court deems proper.

Dated: Novernber 20, 2012
Wilmington, Deiaware

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